      Case: 3:07-cr-00154-WAP-SAA Doc #: 67 Filed: 03/26/08 1 of 2 PageID #: 166




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                   DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Ali Obad’s third motion for continuance

[66]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for March 31, 2008. Defense counsel requests a continuance to allow

additional time to review recently received discovery from the Government and determine what

effect that discovery might have on his client’s defense.

        The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from March 31, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Ali Obad’s third motion for continuance [45] is GRANTED;

        (2) Trial of this matter is continued as to Defendants Ali Obad and Sheila Al-Sanabani until

Tuesday, May 13, 2008 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

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     Case: 3:07-cr-00154-WAP-SAA Doc #: 67 Filed: 03/26/08 2 of 2 PageID #: 167




       (3) The delay from March 31, 2008 to May 13, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is April 22, 2008; and

       (5) The deadline for submitting a plea agreement is April 29, 2008.

       SO ORDERED this the 26th day of March, A.D., 2008.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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